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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI


                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )                  Civ. No. 3:24-cv-712-HTW-ASH
           v.                             )
                                          )
                                          )
MISSISSIPPI STATE SENATE,                 )
                                          )
                        Defendant.        )
__________________________________________)

                    NOTICE OF VOLUNTARY DISMISSAL UNDER
                  FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff United States of

America hereby gives notice that the United States’ complaint against Defendant Mississippi

State Senate is voluntarily dismissed. Defendant has not served an answer or motion for

summary judgment in this action. Accordingly, the United States notices voluntary dismissal of

its complaint.


Date: April 15, 2025


Respectfully submitted,

        HARMEET K. DHILLON
        Assistant Attorney General
        Civil Rights Division

        KAREN D. WOODARD
        Chief

BY:     /s/ Louis Whitsett
        VALERIE MEYER, Deputy Chief
        (AZ Bar No. 023737)
        LOUIS WHITSETT, Senior Trial Attorney
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